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            8                       UNITED STATES DISTRICT COURT
            9                     CENTRAL DISTRICT OF CALIFORNIA
        10                                                CASE NO.: 2:21-cv-08526-FMO
                LIDIA RODRIGUEZ,
        11                                                (JCx)
                                   Plaintiff,
        12                                                ORDER RE: STIPULATION
                v.                                        REMANDING BACK TO STATE
        13                                                COURT
                WALMART INC. and DOES 1 to 50,            Courtroom:          Courtroom 6D
        14      inclusive,                                District Judge:     Hon. Fernando M. Olguin
                                                          Magistrate Judge:   Hon. Jacqueline Chooljian
        15                         Defendants.            Complaint Filed:    February 20, 2020
                                                          Trial Date:
        16

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        18      Upon consideration of Plaintiff LIDIA RODRIGUEZ and Defendant WALMART
        19      INC.’s Joint Stipulation to Remand Matter to State Court, and good cause
        20      showing,
        21            IT IS HEREBY ORDERED THAT:
        22            1.    Effective immediately, the matter herein shall be removed to the
        23                  Superior Court of State of California, County of Los Angeles.
        24            2.    Plaintiff shall waive the right to costs incurred to bring forth the
        25      Motion to Remand in exchange for the Parties’ stipulation to remand to State Court.
        26
                                                            /s/
                Dated: November 19, 2021         _____________________________________
        27
                                                 HONORABLE FERNANDO M. OLGUIN
        28                                       UNITED STATES DISTRICT JUDGE
2354-9386
                                                         1
                                                     ORDER RE STIPULATION TO REMAND CASE NO.
                                                                              2:21-cv-08526-FMO (JCx)
      Case 2:21-cv-08526-FMO-JC Document 11 Filed 11/19/21 Page 2 of 2 Page ID #:105



            1                            CERTIFICATE OF SERVICE
            2         I hereby certify that the following document(s):
            3   [PROPOSED] ORDER RE: STIPULATION REMANDING BACK TO
                STATE COURT
            4
                was/were served on this date to counsel of record:
            5
                      [ ]    BY MAIL: By placing a copy of the same in the United States Mail,
            6                postage prepaid, and sent to their last known address(es) listed below.
            7         [ x ] BY E-MAIL DELIVERY: Based on an agreement of the parties to
                            accept service by e-mail or electronic transmission, I sent the above
            8               document(s) to the person(s) at the e-mail address(es) listed below. I
                            did not receive, within a reasonable amount of time after the
            9               transmission, any electronic message or other indication that the
                            transmission was unsuccessful.
        10
                      [ x]   BY ELECTRONIC TRANSMISSION: I electronically filed the
        11                   above document(s) with the Clerk of the Court using the CM/ECF
                             system. The CM/ECF system will send notification of this filing to the
        12                   person(s) listed below.
        13      Konrad Kuenstler, Esq.
                LAW OFFICES OF F. ADRIAN MUNOZ
        14      4443 Maine Avenue
                Baldwin Park, CA 91706
        15      Tel: (626) 246-1690
                Fax: (626) 246-1694
        16      Email: adrianmunoz@msn.com
                Attorney for Plaintiff
        17      LIDIA RODRIGUEZ
        18
                      Executed on November 18, 2021 at Los Angeles, California.
        19

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        21
                                                       Shraddha Friend
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2354-9386
                                                         2
                                                  [PROPOSED] ORDER RE STIPULATION TO REMAND
                                                               CASE NO. 2:21-cv-08526-FMO (JCx)
